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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       :   CR No. 1:23-cr-00123-SAG
                                                :
 v.                                             :
                                                :
 ROBERT KROP,                                   :
          Defendant.                            :
  :   :    :      :              :      :       :      :      :       :      :       :      :

      DEFENDANT KROP’S OPPOSITION TO THE GOVERNMENT’S MOTION TO
            EXCLUDE TIME PURSUANT TO THE SPEEDY TRIAL ACT

        Defendant, ROBERT KROP, by and through his attorneys, Daniel L. Cox, The Cox Law
Center, LLC, formally adopts and incorporates his motions to dismiss and oppositions to the
government’s misuse of the Grand Jury indictment system, and OPPOSES the government’s
motion to exclude time pursuant to the Speedy Trial Act (18 U.S.C. § 3161(h)), saying in support
thereof as follows:


        I.     MR. KROP CONTINUES TO ASSERT HIS INNOCENCE AND
               CONSTITUTIONAL RIGHTS.

        There exists no indictment in this case as issued and signed by the Grand Jury, which is

required under federal statute and the United States Constitution. “No person shall be held to

answer for a capital, or otherwise infamous crime, unless on a presentment or indictment of a

Grand Jury…”. U.S. Const. amend. V.; see also, FRCP 6 (“(2) Motion to Dismiss an Indictment. A

party may move to dismiss the indictment based on an objection to the grand jury...(c) Foreperson

and Deputy Foreperson. The court will appoint one juror as the foreperson and another as the

deputy foreperson. In the foreperson's absence, the deputy foreperson will act as the foreperson.

The foreperson may administer oaths and affirmations and will sign all indictments. The

foreperson—or another juror designated by the foreperson—will record the number of jurors

concurring in every indictment and will file the record with the clerk, but the record may not be




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made public unless the court so orders.”). We are now more than 47 days outside of a valid

indictment, all to the detriment of the innocent Mr. Krop, a Class III exempt licensee.

       Mr. Krop, in open court at his initial appearance and arraignment on April 13, 2023,

demanded his Speedy Trial Act rights to be provided evidence against him and scheduled for trial

within 70 days pursuant to the Act. That trial date would have been Flag Day, June 14, 2023, or,

at the latest, June 22, 2023. That request was completely ignored by both this honorable Court

and by the government, with the government averring that they had another trial during that time

and could not try the Sheriff and Mr. Krop promptly, all in collusion to deny Mr. Krop his

Constitutional, common law and statutory rights. “In all criminal prosecutions, the accused shall

enjoy the right to a speedy and public trial, by an impartial jury of the State and district whrein the

crime shall have been committed…and be informed of the nature and cause of the accusation…”.

U.S. Const. amend. VI.

       Instead, in its first act of collusion against Mr. Krop’s inalienable assertion of rights,

unusually the Sheriff filed his motion with the government’s consent to exclude time under the

Speedy Trial Act. Thus, Mr. Krop sought redress and defense of his rights by filing motions

promptly including his (Omnibus) Speedy Trial Motion, which this Court signified was filed too

promptly prior to all discovery being received. See, Order of the Honorable Judge Stephanie

Gallagher, September 27, 2023. ECF 83 (“Within weeks of his initial appearance in this case,

before any schedule had been set…Mr. Krop filed an omnibus motion…raising a wide variety of

arguments about the validity of the case against him…Now that this case is proceeding and Mr.

Krop is learning more about the facts and the Government’s arguments, he seeks to file a second

motion to dismiss to hone some of the arguments he chose to present at a very early stage of the

litigation…”. (emphasis added). The Court’s order is prima facia demonstration that no order was




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promptly set pursuant to Mr. Krop’s Speedy Trial Act demand, in contravention to his rights

thereunder and under the Constitution. As such, the case must be dismissed with prejudice.



         II.    THE GOVERNMENT HAS DIRTY HANDS AND MAY NOT BENEFIT
                FROM ANY WAIVER AGAINST THE RIGHTS OF MR. KROP.

         The government, as repeatedly stated by attorneys for both co-defendants in this case, has

and continues to commit significant and serious misadministration of justice towards Mr. Krop.

This includes, but is not limited to:

     •    submitting a baseless and falsely sworn affidavit for a         5/24/2022 at 3:45 p.m.
          telephone warrant and raid on Mr. Krop’s business             By SA ANDRIY VAVILIN
     •    submitting an improper and likely illegal proffer of false
                                                                        Dates up through 4/5/2023
          facts and law to the Grand Jury for obtaining an
          indictment, necessitating dismissal
     •    illegally appearing unannounced at Mr. Krop’s real estate
          business absent any authority to do so during business
                                                                                5/25/2022
          hours to smear and intimidate Mr. Krop in front of his
          employees and damage his reputation and business to the
          detriment of his family with four small children
     •    harassing his undersigned defense attorney in public at a
          restaurant with armed U.S. federal law enforcement               6/22/2023 (ECF 25)
          assets after which AUSA Mr. Wise withdrew and AUSA
          Mr. Sullivan entered the case
     •    presently standing in direct violation of both the law
          regarding lawful indictments and forty-seven days after
                                                                           12/6/2023 (ECF 96)
          this Court’s order commanding a lawfully corrected
          revision to be filed in the instant case as the original
          indictment as issued and signed has been dismissed
     •    the collusion of the Sheriff and AUSA is improper, to
          seek conviction of innocent Mr. Krop prior to the
          principal being tried when: 1) there is no lawful
          indictment filed at all; 2) Mr. Krop has consistently
          pointed out the wrongfulness and lack of jurisdiction of
          the indictment only to be delayed justice; 3) the principal      1/2/2024 (ECF 103)
          charged, Sheriff Jenkins, was arraigned first signifying
          the absolute necessity of his case being tried first in order
          to find Mr. Krop in any way culpable, but is now
          prejudicially to Mr. Krop may not be tried at all according
          to the government, should Mr. Krop not be convicted; 4)
          at no time, contrary to the government’s averment, did


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        the undersigned agree to a trial date but merely answered
        a question about his calendar schedule –vigorously
        opposing any setting in of a trial date whatsoever because
        of the injustice in this instant case and lack of jurisdiction.


       As such, the government comes to the Court with dirty hands and its motion must be denied

and the charges and case dismissed with prejudice. Miller v. Hooks, No. 16-7506 (4th Cir. Sep 05,

2018)(“He who comes into equity must come with clean hands. It is far more than a mere banality.

It is a self-imposed ordinance that closes the door of the court of equity to one tainted with

inequitableness or bad faith relative to the matter in which he seeks relief." Precision Instrument

Mfg. Co. v. Automotive Maint. Mach. Co., 324 U.S. 806, 814 (1945)). The legal maxim pari

delicto potior est conditio defendentis is the binding and commanding principle of ‘clean hands’

with its roots in Roman law, which “closes the door of the court of equity” here to the government.

Id. It further finds expression in the maxims of Roman law: “ex dolo malo non oritur actio, nullus

commodum capere potest de iniuria sua propria,” meaning, an action may not arise from malicious

intent; no one – not even the government - can take advantage of his own injury. Oxford Public

International Law, Clean Hands, Principle, Stephen M Schwebel, Max Planck Encyclopedia of

Public International Law [MPEPIL], March 2013. See, https://opil.ouplaw.com/ accessed January

22, 2024. Here, the malicious intent is to smear Mr. Krop now that the government knows it has

no case and is looking for a scapegoat. This unlawful behavior by the government violates both

the letter and the spirit of our American justice system, and egregiously harms Mr. Krop and his

dear family who continue to suffer intense stress at this moment because of the government’s

baseless and improper actions.




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        III.    MR. KROP MAY NOT BE THE SCAPEGOAT OF THE GOVERNMENT’S
                FAILURES IN ADMINISTRATION OF JUSTICE IN THIS MATTER.

        The government wrongly argues that motions filed in the defense of Mr. Krop serve as

grounds under the Speedy Trial Act for exclusion of time, and alleged “plea negotiations.” ECF

105, ¶ ¶ 6, 9. This is patently a false argument as no such “plea negotiations” have or are taking

place with Mr. Krop. Neither has a single motion or matter in the instant case been a cause by Mr.

Krop to force a waiver of his rights asserted. And at no time has the undersigned stated he was

“agreeable” to the setting in of a trial date prior to the trying of the Sheriff and has respectfully and

duly asserted this Court’s lack of jurisdiction in this matter, necessitating dismissal.

        If this Court were to grant the government’s motion and not dismiss this matter, it would

violate the binding precedent that actus me invito factus non est meus actus, or, “an act done against

my will is not my act.” Mr. Krop was chastised by this Court for filing his motions promptly as

soon as the maladministration of justice by the government began to be known with clear evidence,

as is duly required at Bar and law. Yet now the government is trying to benefit from the advisement

of the Court to file motions later after more discovery is obtained. See, Order dated 9/27/2023 and

filed 9/28/2023 (ECF 83). The government cannot have it both ways. Either Mr. Krop’s demand

for a trial by June 22nd, 2023 should have been honored, and it wasn’t, or it should have dismissed

the charges promptly as required by law.

        The Constitutional binding mandate pursuant to the Sixth Amendment that the accused be

provided a speedy trial, and the U.S. Code’s binding mandate that the same be provided “within

70 days” is inexcusable by the government. The purpose of this right is more than for mere peace

of mind for a defendant. The purpose has more to do with preventing the government from making

up and seeking to build a case after indictment as the government is doing here. In open Court

on July 18, 2023 – over 100 days after indictment - the government AUSA stated “we don’t



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have evidence, we have theories” or similar words, only to backtrack that months later in October.

The eminent jurist Blackstone spoke to this forbidden act of the government to develop a case after

indictment as an enduring principle in our law in his Commentaries when he wrote:

                “When the prisoner hath thus pleaded not guilty, non culpabilis, or nient
       culpable;…the clerk of the arraigns[ment], on behalf of the crown replies that the
       prisoner is guilty, and that he is ready to prove him so. This is done by two
       monosyllables [abbreviated] “cul. Prit,” which signifies that the prisoner is guilty,
       (cul, or culpable), and that the king is ready to prove him so (prit, or praesto sum,
       or et hoc paratus est verificare)… And this was done in [most concise] manner: for
       when the pleader intended to demur, he expressed his demurrer in a single word
       “judgment;” signifying that he demanded judgment whether the writ…were
       sufficiently good in law…And,…this [the crown] is ready to verify, et hoc paratus
       est verificare…Immediately upon plea pleaded [not guilty] [the clerk asks] “culprit,
       how wilt thou be tried?; by [bench] or by jury…When the prisoner has thus put
       himself upon his trial, the clerk answers in the humane language of the law, which
       always hopes that the party’s innocence rather than his guilt may appear, “God send
       thee a good deliverance.” And then they proceed as soon as conveniently may
       be, to the trial…”.
Blackstone, William. Commentaries on the Laws of England: A Facsimile of the First
Edition of 1765-1769, Vol. IV., pages 333-335. University of Chicago Press. Chicago,
London. (bold emphasis added).

       Here, Mr. Krop at his arraignment pleaded not guilty, asserted his demand for a trial by

jury, and asserted, pursuant to the Speedy Trial Act, his right to be tried forthwith as he knew the

government had no evidence against him for he had committed no wrongdoing.

       Instead of proceeding to scheduling a trial forthwith, as it is both historically and presently

mandated under our law, the government and the Court failed and refused his demand. Mr. Krop

then was forced to show the Court promptly that the government had no case and was acting

unjustly and ultra vires by filing his motion to dismiss.

       The government’s motion (ECF 105) improperly avers as its authority 18 U.S.C. § 3161(h)

as no such grounds exist whatsoever.

       WHEREFORE, Mr. Krop reincorporates his demand for DISMISSAL WITH PREJUDICE
pursuant to his Speedy Trial Act rights under the United States Constitution, amend. VI, and



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incorporates his motions to dismiss and prior pleadings demanding the same, and respectfully
requests this honorable Court to GRANT the same and DISMISS this case with prejudice.


                                          Respectfully submitted,
                                          ___/s/_____________________________________
                                          Daniel L. Cox
                                          THE COX LAW CENTER, LLC
                                          P.O. Box 545
                                          Emmitsburg, MD 21727
                                          Telephone: 410-254-7000 (office)
                                          Facsimile: 410-254-7220
                                          Federal Bar no.: 28245
                                          Attorneys for Defendant


                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY, that on January 22, 2024, a copy of the foregoing Defendant Krop’s
OPPOSITION TO THE GOVERNMENT’S MOTION TO EXCLUDE TIME PURSUANT TO
THE SPEEDY TRIAL ACT was filed via ECF, which caused copies to be sent to all parties of
record.
                                        ________/s/___________________
                                       Daniel L. Cox




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